110 F.3d 61
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.UNITED STATES of America, Plaintiff--Appellee,v.Roderick F. EASTERLING, Defendant--Appellant.
    No. 96-7612.
    United States Court of Appeals, Fourth Circuit.
    Submitted Feb. 11, 1997.Decided March 25, 1997.
    
      Roderick F. Easterling, Appellant Pro Se.
      Thomas More Hollenhorst, Assistant United States Attorney, Alexandria, Virginia, for Appellee.
      Before WILKINS, LUTTIG, and WILLIAMS, Circuit Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals the district court's order finding his notice of appeal untimely and denying his "Motion to Vacate, Set Aside or Correct Sentence pursuant to Rule 35(a)."   We have reviewed the record and the district court's opinion and find no reversible error.  Accordingly, we affirm on the reasoning of the district court.  United States v. Easterling, No. CR-93-171-A (E.D.Va. Sept. 3, 1996).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    AFFIRMED
    